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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS

                    CIVIL ACTION NO. 25-10445-RGS

              DEBRA GOULART AND MICHAEL GARBITT,
         Individually and on behalf of all others similarly situated

                                     v.

                     CAPE COD HEALTHCARE, INC.

        MEMORANDUM AND ORDER ON MOTION TO DISMISS

                               June 24, 2025

STEARNS, D.J.

     In this putative class action, plaintiffs Debra Goulart and Michael

Garbitt claim that defendant Cape Cod Healthcare, Inc. (CCHC), through

internet-tracking technologies, unlawfully disclosed their private health-

related information and personally identifiable information to Facebook and

Google, in violation of the Electronic Communications Privacy Act, 18 U.S.C.

§ 2510 (ECPA). Before the court is CCHC’s motion to dismiss the ECPA claim

under Federal Rule of Civil Procedure 12(b)(6). For the following reasons,

the court will allow the motion.

                              BACKGROUND

     Goulart and Garbitt allege the following facts in their Second Amended

Complaint (SAC). See Dkt. # 30 (SAC). For the purposes of the present
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motion, the court accepts the facts as true.       CCHC is a not-for-profit,

healthcare system that provides medical services for residents and visitors of

Cape Cod.1 SAC ¶ 6. It also owns and operates capecodhealth.org, a public

website featuring an online patient portal, which is password protected. Id.

¶¶ 19, 26, 29, 158. Visitors with log-in credentials may search the website for

physicians, research services and treatment options, and pay medical bills.

Id. ¶ 22. Users of CCHC’s patient portal may also make appointments, access

medical records, view lab results, and exchange communications with

healthcare providers. Id. ¶ 23.

      The CCHC website and patient portal embed digital marketing trackers

created by Facebook (which is owned by Meta) and Google. Id. ¶¶ 35, 42, 45,

49. These “tracking pixels” collect dozens of data points about individual

website users who interact with the site and that are then shared with third

parties. Id. ¶ 43. Specifically, CCHC deploys on its website and patient portal

Meta Pixel, one of the world’s most ubiquitous tracking pixels. Id. ¶¶ 44, 45,

49. Meta Pixel allows CCHC and Facebook “to secretly track, intercept,




      1 CCHC operates a number of facilities on Cape Cod, including
hospitals such as Cape Cod Hospital, Falmouth Hospital, JML Health Care
Center, Cape Cod Surgery Center, Davenport-Mugar Cancer Center,
Falmouth Hospital Rehabilitation Center, Cape Cod Healthcare Urgent Care-
Falmouth, Cape Cod Healthcare Urgent-Care Harwich, and Cape Cod
Healthcare Pharmacy.
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record, and transmit every patient communication made on Defendant’s

websites.” Id. ¶ 45. For example, when plaintiffs accessed CCHC’s website,

Meta Pixel software directed the patients’ browsers to send private

information, such as “the type of medical appointment the patient made, the

date, and the specific doctor the patient was seeing” to third-party

advertising companies, like Facebook. Id. ¶ 27. The installation of the

tracking codes on CCHC’s patient portal “resulted in disclosures of patients’

personal health information, including their patient status, whenever

[patients] logged into the patient portal for routine purposes such as

reviewing medical records, checking lab results, and communicating with

their doctors.” Id. ¶ 49. The transmission of information to Facebook is

“instantaneous” and done without the user’s knowledge – Facebook often

receives the information before the healthcare provider. Id. ¶¶ 104, 110. In

exchange for installing Meta Pixel on its websites, CCHC receives from

Facebook “analytics about the ads they have placed on Facebook and

Instagram and tools to target people who have visited their website.” Id. ¶

112.    Facebook uses the disclosed information to track user data and

communications for marketing purposes. Id. ¶ 41.

       In addition to Meta Pixel, CCHC also uses Google Analytics and Google

Tag Manager on its website and patient portal to “track[] and disclose[]


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patient activity, IP addresses, cookies, geolocation, and other unique device

identifiers” to Google. Id. ¶¶ 50-54, 158. Like Facebook, Google uses the

disclosed information to track user data and communications for marketing

purposes. Id. ¶ 41.

     Goulart and Garbitt have been treated by CCHC’s physicians. Id. ¶¶ 7-

11. Goulart used CCHC’s website to locate providers, schedule appointments,

pay for medical services, and research treatments related to knee

replacement recovery as well as cancer screening procedures. Id. ¶ 11. She

used the patient portal to check lab results for biopsies and bone density

tests. Id. After using CCHC’s website and patient portal, she began receiving

“online advertisements related to her research, including knee replacement-

related pain.” Id. Garbitt used CCHC’s website to research the credentials

of his primary care physician and cardiologist. Id. ¶ 12. He used the patient

portal to follow up on treatment he received from CCHC and to learn the

results of tests that he had undergone at Cape Cod Hospital regarding his

heart condition. Id. Goulart and Garbitt believed that their interactions with

CCHC’s website were privileged and would not be shared with anyone other

than their healthcare providers and medical staff. Id. ¶ 13. They did not

consent to CCHC sharing their information with Facebook or Google. Id.




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       On December 8, 2022, the original plaintiff filed this putative class

action under the pseudonym Jane Doe in the Barnstable Superior Court

against CCHC. See Dkt. # 1, Ex. 4 at 1-2. The original Complaint set out six

counts: violation of the Massachusetts Wiretap Act, Mass. Gen. Laws ch. 272,

§ 99; violation of the Massachusetts Right to Privacy Law, Mass. Gen. Laws

ch. 214, § 1B; and common law breach of fiduciary duty and/or duty of

confidentiality, breach of express contract, breach of implied contract, and

unjust enrichment. See id. at 40-59. On January 12, 2023, CCHC removed

the case from the Barnstable Superior Court to the United States District

Court for the District of Massachusetts. See Dkt. # 1 at 2. On January 25,

2023, the District Court remanded the case to the Barnstable Superior Court.

See Dkt. # 1 at 2. Following remand, the case was transferred to the Business

Litigation Session of the Suffolk County Superior Court. See id. On January

31, 2025, Jane Doe amended the Complaint to include a claim under the

ECPA and withdrew the Massachusetts Wiretap Act claim. See id. at 3. On

February 24, 2025, CCHC removed the case from the Suffolk County

Superior Court to the United States District Court for the District of

Massachusetts pursuant to 28 U.S.C. §§ 1331, 1441(a), 1446, and 1367. See

id. at 1.




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                           LEGAL STANDARD

      To survive a motion to dismiss under Rule 12(b)(6), a complaint “must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief

that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),

quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Two basic

principles guide the court’s analysis. “First, the tenet that a court must

accept as true all of the allegations contained in a complaint is inapplicable

to legal conclusions.” Iqbal, 556 U.S. at 678. “Second, only a complaint that

states a plausible claim for relief survives a motion to dismiss.” Id. at 679. A

claim is facially plausible if its factual content “allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”

Id. at 678. If the allegations in the complaint are “too meager, vague, or

conclusory to remove the possibility of relief from the realm of mere

conjecture,” the complaint will be dismissed. SEC v. Tambone, 597 F.3d 436,

442 (1st Cir. 2010) (en banc).

                                 DISCUSSION

      The ECPA provides a private right of action against any person who

“intentionally intercepts, endeavors to intercept, or procures any other

person to intercept or endeavor to intercept wire, oral, or electronic

communication.”     In re Pharmatrak, Inc., 329 F.3d 9, 19 (1st Cir. 2003),


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quoting 18 U.S.C. § 2511(1)(a). However, there are exceptions to liability –

consent and the one-party exception, which applies when the person

intercepting the communication is also a “party to the communication.” 18

U.S.C. § 2511(2)(d); see In re Pharmatrak, Inc., 329 F.3d at 18. The one-

party exception has its own carve-out – the crime-tort exception. See 18

U.S.C. § 2511(2)(d). Under this exception, a party to a communication is still

liable under the ECPA when a communication “is intercepted for the purpose

of committing any criminal or tortious act in violation of the Constitution or

laws of the United States or of any State.” 18 U.S.C. § 2511(2)(d).

      The crime-tort exception requires a plaintiff to “plead sufficient facts

to support an inference that the offender intercepted the communication for

the purpose of a tortious or criminal act that is independent of the intentional

act of recording or interception itself.” In re Google Inc. Cookie Placement

Consumer Priv. Litig., 806 F.3d 125, 145 (3d Cir. 2015) (emphasis in

original), quoting Caro v. Weintraub, 618 F.3d 94, 100 (2d Cir. 2010).

Specifically, “either the ‘primary motivation’ or a ‘determinative factor’ in the

actor’s decision to record [is] the intent to commit a criminal or tortious act.”

United States v. McHugh, 57 F. Supp. 3d 95, 99-100 (D. Mass. 2014); see

Sussman v. Am. Broad. Cos., Inc., 186 F.3d 1200, 1202 (9th Cir. 1999)

(holding that “where the taping is legal, but is done for the purpose of


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facilitating some further impropriety, such as blackmail, [the crime-tort

exception] applies. Where the purpose is not illegal or tortious, but the

means are, the victims must seek redress elsewhere.”).

      The parties dispute the applicability of the crime-tort exception. See

Dkt. # 12 at 9; Dkt. # 20 at 8. CCHC argues that the crime-tort exception

does not apply because plaintiffs do not plausibly allege that CCHC intended

to commit a crime or tort at the time of the interception. See Dkt. # 12 at 5.

Goulart and Garbitt contend that the Complaint plausibly alleges that CCHC

intended to disclose their protected health information to third parties and

that disclosure of such information is ipso facto criminal and tortious. See

Dkt. # 20 at 8.

      The Complaint fails for a basic reason. It fails to plausibly allege that

CCHC’s “primary motivation” or “determinative factor” in disclosing

plaintiffs’ personal health information through the software-tracking

technology to Facebook and Google was for the purpose of committing a

criminal violation or tort, as opposed to commercial gain or convenience.

The Twombly-Iqbal standard requires more than mere conclusory

allegations.   Rather, it puts the burden on plaintiffs to assert factual

allegations that give plausible heft to their claims of personal injury. See 5

Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure § 1216


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(4th ed. May 2025 update); Iqbal, 556 U.S. at 678-679. Here, plaintiffs have

failed to plead with any plausibility that the crime-tort exception applies.

See, e.g., Williams v. TMC Health, 2024 WL 4364150, at *4 (D. Ariz. Sept.

30, 2024) (finding that the use of tracking technologies to obtain personal

data, increase profits through sophisticated and targeted advertising, and to

improve website analytics point to a non-criminal, non-tortious purpose);

Doe v. Genesis Health Sys., 2025 WL 1000192, at *9 (C.D. Ill. March 18,

2025) (dismissing ECPA claim because, by plaintiff’s own account, the

trackers were used by defendant to benefit its marketing and advertising

purposes, not for the purpose of knowingly committing a violation of the

Health Insurance Portability and Accountability Act (HIPAA)).2

     Because there are no factual allegations in the Complaint from which

the court could conclude that CCHC, a non-profit hospital system, installed

Meta Pixel and software-tracking technology with the “primary motivation”




     2 Plaintiffs aver in the Complaint that CCHC “accessed, obtained, and

disclosed plaintiffs’ Personal Health Information” to Facebook and Google
“for the purpose of committing the crimes and torts described herein
[criminal violation of HIPAA, invasion of privacy, Mass. Gen. Laws ch. 214,
§ B; breach of confidentiality of medical records, Mass. Gen. Laws ch. 111, §
70E; and breach of the common law duty of confidentiality] because it would
not have been able to obtain the information or the marketing services if it
had complied with the law.” SAC ¶¶ 235, 238-239. This is a prototypical
example of the type of conclusory pleading the Twombly-Iqbal standard
rejects. See Tambone, 597 F.3d at 442.
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of knowingly committing a violation of HIPAA or perpetrating a tort, the

Complaint fails.    There are facts alleged by plaintiffs supporting the

proposition that CCHC used the trackers for purposes of marketing and

advertising. For example, the Complaint states that: CCHC used Meta Pixel

and Google’s software tools to knowingly disclose information that allows

Facebook, Google, and other advertisers to target patients with ads, see SAC

¶ 159; CCHC “made the decision to barter its patients’ PII/PHI to Facebook

because it wanted access to the Meta Pixel tool,” see SAC ¶ 162; and in

exchange for disclosing PII about its patients, CCHC had been “compensated

by Facebook with enhanced online advertising services, including (but not

limited to) retargeting and enhanced analytics functions,” see SAC ¶ 197. But

as previously explained, commercial purposes or advantages are not the stuff

of which a crime-tort is made.3


      3 The court emphasizes that it is unconvinced that the Complaint
sufficiently alleges an independent crime or tort beyond the alleged
interception itself. Plaintiffs rely on an out-of-district court case for the
proposition that a violation of HIPAA constitutes a “further impropriety”
independent and separate from the healthcare company’s interception, and
thus satisfies the crime-tort exception. See Dkt. # 20 at 14-15, citing R.S. v.
Prime Healthcare Servs., Inc., 2025 WL 103488, at *6 (C.D. Cal. Jan. 13,
2025). However, such a violation does not constitute an act “secondary to
the acquisition of the communication involving tortious or criminal use of
the interception’s fruits.” Caro, 618 F.3d at 98. Plaintiffs’ allegations that
CCHC violated HIPAA and various torts encompass only the simultaneous
interception and disclosure of information to Facebook and Google – no data
was alleged to have been independently used in a crime or tort committed by
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                                   ORDER

      For the foregoing reasons, CCHC’s motion to dismiss the ECPA claim

is ALLOWED. Consistent with the guidance of the First Circuit, the court

will decline supplemental jurisdiction over the remaining state claims and

direct the Clerk to remand these claims to the Suffolk County Superior Court.

See Camelio v. Am. Fed’n, 137 F.3d 666, 672 (1st Cir. 1998) (“[T]he balance

of competing factors ordinarily will weigh strongly in favor of declining

jurisdiction over state law claims where the foundational federal claims have

been dismissed at an early stage in the litigation.”).

                                     SO ORDERED.

                                     /s/ Richard G. Stearns
                                     UNITED STATES DISTRICT JUDGE




CCHC. See Okash v. Essentia Health, 2025 WL 642913, at *3 (D. Minn. Feb.
27, 2025).

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